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           FILED & JUDGMENT ENTERED
                  Steven T. Salata


                   February 26 2020


            Clerk, U.S. Bankruptcy Court
           Western District of North Carolina
                                                                                _____________________________
                                                                                         J. Craig Whitley
                                                                                  United States Bankruptcy Judge




                                  UNITED STATES BANKRUPTCY COURT
                                 WESTERN DISTRICT OF NORTH CAROLINA
                                        CHARLOTTE DIVISION

                                                        :
      In re                                             : Chapter 11
                                                        :
      DBMP LLC1                                         : Case No. 20-30080 (JCW)
                                                        :
                             Debtor.                    :
                                                        :
                                                        :
      DBMP LLC,                                         :
                                                        :
                             Plaintiff,                 :
                                                        :
      v.                                                : Adv. Pro. No. 20-03004 (JCW)
                                                        :
      THOSE PARTIES LISTED ON APPENDIX                  :
      A TO COMPLAINT and JOHN AND JANE                  :
      DOES 1-1000,                                      :
                                                        :
                             Defendants.                :
                                                        :




  1
         The last four digits of the Debtor’s taxpayer identification number are 8817. The Debtor’s address is
  20 Moores Road, Malvern, Pennsylvania 19335.



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                    AGREED ORDER REGARDING DEBTOR’S REQUEST FOR
                   EXTENSION OR APPLICATION OF THE AUTOMATIC STAY
                       TO CERTAIN ACTIONS AGAINST NON-DEBTORS

          This matter comes before the Court on the Complaint for Injunctive and Declaratory Relief

  (I) Preliminarily Enjoining Certain Actions Against Non-Debtors, or (II) In the Alternative,

  Declaring That the Automatic Stay Applies to Such Actions and (III) Granting a Temporary

  Restraining Order Pending a Final Hearing on the Merits [Adv. Docket No. 1] (the “Complaint”)

  and the Motion for an Order (I) Preliminarily Enjoining Certain Actions Against Non-Debtors or,

  (II) In the Alternative, Declaring That the Automatic Stay Applies to Such Actions and

  (III) Granting a Temporary Restraining Order Pending a Final Hearing on the Merits [Adv.

  Docket No. 2] (the “Motion”),2 both filed by the above-captioned debtor and debtor-in-possession

  (the “Debtor”). Having been advised by counsel for the Debtor and counsel for the official

  committee of asbestos personal injury claimants (the “Committee”) that the parties have reached

  an agreement with respect to temporarily granting relief sought by the Debtor on the terms set

  forth herein while preparing for an evidentiary hearing on the Debtor’s request for injunctive

  and/or declaratory relief in the Motion and the Complaint, the Court finds and concludes as

  follows:

                    A.     The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

  and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

                    B.     On January 29, 2020, the Court entered a temporary restraining order

  [Adv. Docket No. 21] (the “Initial TRO”) prohibiting and enjoining the Defendants from

  continuing or commencing against any of the Protected Parties any action or claim asserting, on

  any theory (whether direct, derivative, joint and several, successor liability, vicarious liability,


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          Capitalized terms in this Order not otherwise defined herein have the meanings given to them in the Motion.


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  fraudulent or voidable transfer or conveyance, alter ego or otherwise), any DBMP Asbestos

  Claims through and including the conclusion of a hearing on February 13, 2020. At the February

  13, 2020 hearing, the Court orally granted an extension of the Initial TRO and thereafter issued

  its Order Extending Temporary Restraining Order [Adv. Docket No. 44] (the “TRO”) on

  February 18, 2020, which extended the temporary restraining order though February 26, 2020.

  A copy of the TRO is attached hereto as Exhibit A and incorporated by reference herein.

                   C.     The Debtor and the Committee (together, the “Parties”) have agreed to the

  entry of a preliminary injunction prohibiting and enjoining the Defendants from continuing or

  commencing against any of the Protected Parties any action or claim asserting, on any theory

  (whether direct, derivative, joint and several, successor liability, vicarious liability, fraudulent or

  voidable transfer or conveyance, alter ego or otherwise), any DBMP Asbestos Claims through

  the conclusion of the Evidentiary Hearing (defined below).

                   D.     The Committee’s agreement to the Court extending injunctive relief to

  the Protected Parties as set forth herein is not a waiver of the Committee’s, or any other party’s,

  objections to such injunctive relief, nor is the Court’s entry of this Order a determination of, or

  relevant to, whether this injunctive relief should continue past the date set forth herein or any

  further extended date. No party may construe the Committee’s consent to the entry of this Order

  as an agreement that injunctive relief in favor of the Protected Parties is appropriate or that

  the Debtor has established its burden with respect to the requested injunctive relief, or make any

  arguments to that effect. All objections to the relief requested in the Complaint and the Motion

  are hereby specifically preserved until the Evidentiary Hearing.

          Based on the agreement of the Parties, as reflected by the signatures of their respective

  counsel set forth below, IT IS HEREBY ORDERED THAT:



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                   1.     Subject to the terms of paragraph D above, all findings of fact and

  conclusions of law in (or incorporated into) the TRO are incorporated by reference herein.

                   2.     The Defendants are prohibited and enjoined from commencing or

  continuing to prosecute any DBMP Asbestos Claims against any of the Protected Parties on any

  theory, whether direct, derivative, joint and several, successor or vicarious liability, fraudulent or

  voidable transfer or conveyance, alter ego or otherwise, through and including the conclusion of

  the Evidentiary Hearing and the Court’s issuance of a decision on the requested relief. As to

  such DBMP Asbestos Claims filed or pending in other courts, this injunction includes, without

  limitation: (a) the pursuit of discovery from the Protected Parties or their officers, directors,

  employees or agents; (b) the enforcement of any discovery order against the Protected Parties;

  (c) further motions practice related to the foregoing; and (d) any collection activity on account of

  a DBMP Asbestos Claim against any Protected Party or its officers, directors, employees or

  agents or its respective assets.

                   3.     The Court will hold an evidentiary hearing on the Debtor’s request for

  injunctive and declaratory relief, as set forth in the Motion and the Complaint, on June 1, 2020 at

  9:30 a.m., Eastern Time, and continuing (if necessary) on June 2, 2020 at 9:30 a.m., Eastern

  Time (the “Evidentiary Hearing”). The Debtor and the Committee will work in good faith to

  negotiate an agreed case management order to be submitted to the Court, which, among other

  things, shall set deadlines for objections and replies.

                   4.     This Order is entered without prejudice to the Debtor’s right to request that

  this Court extend this Order to include other entities or persons not previously identified in

  Appendix A or Appendix B to the Complaint and the Motion. This Order also is without prejudice

  to the rights of the Parties to agree to a further extension of the injunction.



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                   5.    Any party subject to this Order may seek relief from any of the provisions

  of this Order for cause shown. This Order is without prejudice to the Debtor’s or others’ rights

  to seek relief pursuant to 11 U.S.C. § 362, after notice and the opportunity for a hearing, and for

  any Defendant or party in interest to oppose such relief.

                   6.    Notwithstanding anything to the contrary in this Order, any party may,

  without leave of the Court, take reasonable steps to perpetuate the testimony of any person

  subject to this Order who is not expected to survive the duration of this Order or who is

  otherwise expected to be unable to provide testimony if it is not perpetuated during the duration

  of this Order. Unless the giving of notice is excused under applicable non-bankruptcy law,

  notice of the perpetuation of such testimony shall be provided to either counsel of record in

  the underlying lawsuit or the undersigned counsel for the Debtor. The Debtor shall have the right

  to object to the notice on any grounds it would have had if it were a party to the underlying

  proceeding and not subject to the terms of this preliminary injunction, and the Debtor may raise

  any such objection with this Court. The use of such testimony in any appropriate jurisdiction

  shall be subject to the applicable procedural and evidentiary rules of such jurisdiction. All parties

  reserve and do not waive any and all objections with respect to such testimony. Defendants or

  other individuals asserting DBMP Asbestos Claims may not seek to perpetuate the testimony of

  representatives, including directors, officers and employees, of the Debtor without the consent of

  the Debtor or an order of the Court.

                   7.    Pursuant to Rule 7065 of the Federal Rules of Bankruptcy Procedure,

  the Debtor is relieved from posting any security pursuant to Rule 65(c) of the Federal Rules of

  Civil Procedure.

                   8.    This Order shall be immediately effective and enforceable upon its entry.



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                   9.    The Debtor shall cause a copy of this Order to be served via e-mail,

  facsimile, hand delivery or overnight carrier on counsel for the known Defendants and

  the Bankruptcy Administrator within three business days after entry of this Order.

                   10.   This Order shall be promptly filed in the Clerk of Court’s office and

  entered into the record.

                   11.   The Court retains exclusive jurisdiction over this Order and the relief

  granted herein and any and all matters arising from or relating to the implementation,

  enforcement or interpretation of this Order.

  AGREED AND CONSENTED TO BY:




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/s/ Garland S. Cassada                                     /s/ Glenn C. Thompson
Garland S. Cassada (N.C. Bar No. 12352)                    Glenn C. Thompson (Bar No. 37221)
David M. Schilli (N.C. Bar No. 17989)                      HAMILTON STEPHENS STEELE
ROBINSON, BRADSHAW & HINSON, P.A.                                  + MARTIN, PLLC
101 North Tryon Street, Suite 1900                         525 North Tryon Street, Suite 1400
Charlotte, North Carolina 28246                            Charlotte, North Carolina 28202
Telephone: (704) 377-2536                                  Telephone: (704) 344-1117
Facsimile: (704) 378-4000                                  Facsimile: (704) 344-1483
E-mail: gcassada@robinsonbradshaw.com                      Email: gthompson@lawhssm.com
        dschilli@robinsonbradshaw.com
                                                           Proposed Local Counsel for the Official Committee
-and-                                                      of Asbestos Personal Injury Claimants

Gregory M. Gordon (TX Bar No. 08435300)                    -and-
Amanda Rush (TX Bar No. 24079422)
JONES DAY                                                  Kevin C. Maclay, Esq.
2727 North Harwood Street                                  James P. Wehner, Esq.
Dallas, Texas 75201                                        Todd E. Phillips, Esq.
Telephone: (214) 220-3939                                  CAPLIN & DRYSDALE, CHARTERED
Facsimile: (214) 969-5100                                  One Thomas Circle, NW, Suite 1100
E-mail: gmgordon@jonesday.com                              Washington, DC 20005
        asrush@jonesday.com                                Telephone: (202) 862-5000
(Admitted pro hac vice)                                    Facsimile: (202) 429-3301
                                                           Email: kmaclay@capdale.com
-and-                                                             jwehner@capdale.com
                                                                  tphillips@capdale.com
Jeffrey B. Ellman (GA Bar No. 141828)                      (Pro hac vice to be filed)
Danielle Barav-Johnson (GA Bar No. 751721)
JONES DAY                                                  -and-
1420 Peachtree Street, N.E., Suite 800
Atlanta, Georgia 30309                                     Natalie D. Ramsey (DE Bar #3946)
Telephone: (404) 521-3939                                  Davis Lee Wright (DE Bar #4324)
Facsimile: (404) 581-8330                                  ROBINSON & COLE, LLP
E-mail: jbellman@jonesday.com                              1201 North Market Street, Suite 1406
        dbarav@jonesday.com                                Wilmington, Delaware 19801
(Admitted pro hac vice)                                    Telephone: (302) 516-1700
                                                           Facsimile: (302) 516-1699
Counsel for the Plaintiff/Debtor and Debtor-In-            E-mail: nramsey@rc.com
Possession                                                         dwright@rc.com
                                                           (Admitted pro hac vice)

                                                           Proposed Co-Counsel to the Official Committee of
                                                           Asbestos Personal Injury Claimants

  This Order has been signed electronically. The Judge’s                        United States Bankruptcy Court
  signature and Court’s seal appear at the top of the
  Order.


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                                    EXHIBIT A

                                       (TRO)




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         FILED & JUDGMENT ENTERED
                Steven T. Salata


                  February 18 2020


          Clerk, U.S. Bankruptcy Court
         Western District of North Carolina
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                                                                                                   J. Craig Whitley
                                                                                            United States Bankruptcy Judge




                                UNITED STATES BANKRUPTCY COURT
                               WESTERN DISTRICT OF NORTH CAROLINA
                                      CHARLOTTE DIVISION

                                       :
      In re                            :                              Chapter 11
                                       :
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      DBMP LLC,                        :                              Case No. 20-30080 (JCW)
                                       :
            Debtor.                    :
                                       :
                                       :
      DBMP LLC,                        :
                                       :
            Plaintiff,                 :
                                       :
      v.                               :                              Adv. Pro. No. 20-03004 (JCW)
                                       :
      THOSE PARTIES LISTED ON APPENDIX :
      A TO COMPLAINT and JOHN AND JANE :
      DOES 1-1000,                     :
                                       :
            Defendants.                :
                                       :

                     ORDER EXTENDING TEMPORARY RESTRAINING ORDER

                      This matter coming before the Court on the Complaint for Injunctive and

  Declaratory Relief (I) Preliminarily Enjoining Certain Actions Against Non-Debtors or, (II) in


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              The last four digits of the Debtor’s taxpayer identification number are 8817. The Debtor’s address is
              20 Moores Road, Malvern, Pennsylvania 19355.



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  the Alternative, Declaring That the Automatic Stay Applies to Such Actions and (III) Granting a

  Temporary Restraining Order Pending a Final Hearing on the Merits [Adv. Proc. Docket No. 1]

  (the “Complaint”) and Motion of the Debtor for an Order (I) Preliminarily Enjoining Certain

  Actions Against Non-Debtors or, (II) in the Alternative, Declaring that the Automatic Stay

  Applies to Such Actions and (III) Granting a Temporary Restraining Order Pending a Final

  Hearing on the Merits [Adv. Proc. Docket No. 2] (the “Motion”),2 both filed by

  the above-captioned plaintiff and debtor and debtor in possession (“DBMP” or the “Debtor”);

  the Court having heard the arguments of counsel and considered the evidence presented at

  a hearing held on January 27, 2020 (the “Initial Hearing”) to consider whether the requested

  temporary restraining order should be granted; the Court having entered the Temporary

  Restraining Order on January 29, 2020 [Adv. Proc. Docket No. 21] (the “Initial TRO”), a copy

  of which is attached hereto as Exhibit A, which granted a temporary restraining order as

  described therein through and including the conclusion of the Extension Hearing (as defined

  below); the Court having heard the arguments of counsel and considered the evidence presented

  at a hearing held on February 13, 2020 to consider an extension of the Initial TRO

  (the “Extension Hearing”); and the Court having reviewed (a) the Complaint, (b) the Motion,

  (c) the Declaration of Michael T. Starczewski in Support of Debtor’s Complaint for Injunctive

  and Declaratory Relief and Related Motions [Adv. Proc. Docket No. 3] (the “Starczewski

  Declaration”), (d) the Declaration of Robert J. Panaro in Support of First Day Pleadings

  [Docket No. 24] (the “First Day Declaration”) filed in the Debtor’s main chapter 11 case and

  (e) the Reply of the Debtor in Support of Temporary Restraining Order [Adv. Proc. Docket

  No. 33] (the “Reply”) and the Declaration of Michael T. Starczewski in Support of Reply of


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          Capitalized terms not otherwise defined herein have the meanings given to them in the Motion.



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  the Debtor in Support of Temporary Restraining Order included therein (the “Reply

  Declaration”), together with any responses or answers to the Motion or the Complaint; the Court

  finds and concludes as follows: the Court’s findings and conclusions in the Initial TRO and on

  the record of the Extension Hearing, which are incorporated herein by reference, establish just

  cause for the relief granted herein.

                   THEREFORE, IT IS HEREBY ORDERED THAT:

                   1.    The Initial TRO is extended through and including February 26, 2020;

                   2.    All objections to the extension of the Initial TRO are hereby overruled,

  whether filed or stated on the record, including (a) the Objection of Cheryl L. Bergrud,

  Individually and as Personal Representative for the Estate of Peter L. Bergrud to the Entry of a

  Temporary Restraining Order as it Relates to its Case Against Distributor H.D. Fowler Co., Inc.,

  or Alternatively, for Relief from the Temporary Restraining Order to Pursue H.D. Fowler Co.,

  Inc. [Adv. Proc. Docket No. 29] (the “Bergrud Objection”), (b) the Objection of Calvin H.

  Evans, III to the Entry of a Temporary Restraining Order as it Relates to His Case Against

  Distributor H.D. Fowler Co., Inc., or Alternatively, for Relief from the Temporary Restraining

  Order to Pursue H.D. Fowler Co., Inc. [Adv. Proc. Docket No. 30] (together with the Bergrud

  Objection, the “Fowler Objections”) and (c) the Objection of Certain Asbestos Victims to Motion

  of the Debtor for the Entry of a Temporary Restraining Order and Extension of the Existing

  Temporary Restraining Order Beyond the February 13, 2020 Hearing [Adv. Proc.

  Docket No. 31].

                   3.    The Court shall conduct a further hearing on the Motion and

  the Complaint on February 21, 2020, at 3:00 p.m. (prevailing Eastern Time) to consider entry of

  the requested preliminary injunction.




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                   4.    This Order is entered without prejudice to the Debtor’s right to request

  that this Court extend this Order to include other entities or persons not previously identified in

  Appendix A or Appendix B to the Complaint and the Motion.

                   5.    Any party subject to this Order may seek relief from any of the provisions

  of this Order for cause shown. This Order is without prejudice to the Debtor’s or others’ rights

  to seek relief pursuant to section 362 of the Bankruptcy Code and for any Defendant or party in

  interest to oppose such relief.

                   6.    The findings in (or incorporated into) this Order are without prejudice to

  any party or Defendant’s right to dispute such findings in connection with any hearings with

  respect to the entry of a preliminary injunction.

                   7.    Pursuant to Bankruptcy Rule 7065, the Debtor is relieved from posting

  any security under Civil Rule 65(c).

                   8.    For the avoidance of doubt in connection with the lawsuits identified in

  the Fowler Objections, this Order does not enjoin any claims asserted by the plaintiffs in those

  actions that arise out of alleged contact with or injury from products manufactured or sold by

  parties other than the former CertainTeed Corporation.

                   9.    This Order shall be immediately effective and enforceable upon its entry.

                   10.   The Debtor shall cause a copy of this Order to be served via e-mail,

  facsimile, hand delivery or overnight carrier on counsel for the known Defendants and

  the Bankruptcy Administrator within three business days of its entry on the Court’s docket.

                   11.   This Order shall be promptly filed in the Clerk of Court’s office and

  entered into the record.




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                   12.   This Court retains exclusive jurisdiction over this Order and any and all

  matters arising from or relating to the implementation, interpretation or enforcement of this

  Order.

   This Order has been signed electronically.        United States Bankruptcy Court
   The judge’s signature and Court’s seal appear
   at the top of the Order.




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                                      Exhibit A

                                     Initial TRO




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           FILED & JUDGMENT ENTERED
                  Steven T. Salata


                   January 29 2020


            Clerk, U.S. Bankruptcy Court
           Western District of North Carolina
                                                                                          _____________________________
                                                                                                   J. Craig Whitley
                                                                                            United States Bankruptcy Judge




                                  UNITED STATES BANKRUPTCY COURT
                                 WESTERN DISTRICT OF NORTH CAROLINA
                                        CHARLOTTE DIVISION

                                                               :
      In re                                                    :      Chapter 11
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      DBMP LLC,1                                               :      Case No. 20-30080 (JCW)
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               Debtor.                                         :
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                                                               :
      DBMP LLC,                                                :
                                                               :
               Plaintiff,                                      :
                                                               :
      v.                                                       :      Adv. Pro. No. 20-03004 (JCW)
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      THOSE PARTIES LISTED ON APPENDIX                         :
      A TO COMPLAINT and JOHN AND JANE                         :
      DOES 1-1000,                                             :
                                                               :
               Defendants.                                     :
                                                               :

                                      TEMPORARY RESTRAINING ORDER

                        This matter coming before the Court on the Complaint for Injunctive and

  Declaratory Relief (I) Preliminarily Enjoining Certain Actions Against Non-Debtors or, (II) in


  1
              The last four digits of the Debtor’s taxpayer identification number are 8817. The Debtor’s address is
              20 Moores Road, Malvern, Pennsylvania 19355.



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  the Alternative, Declaring That the Automatic Stay Applies to Such Actions and (III) Granting a

  Temporary Restraining Order Pending a Final Hearing on the Merits [Adv. Proc. Docket No. 1]

  (the “Complaint”) and Motion of the Debtor for an Order (I) Preliminarily Enjoining Certain

  Actions Against Non-Debtors or, (II) in the Alternative, Declaring that the Automatic Stay

  Applies to Such Actions and (III) Granting a Temporary Restraining Order Pending a Final

  Hearing on the Merits [Adv. Proc. Docket No. 2] (the “Motion”),2 both filed by the

  above-captioned plaintiff and debtor and debtor in possession (“DBMP” or the “Debtor”);

  the Court having reviewed (a) the Complaint, (b) the Motion, (c) the Declaration of Michael T.

  Starczewski in Support of Debtor’s Complaint for Injunctive and Declaratory Relief and Related

  Motions [Adv. Proc. Docket No. 3] (the “Starczewski Declaration”) and (d) the Declaration of

  Robert J. Panaro in Support of First Day Pleadings [Docket No. 24] (the “First Day

  Declaration”) filed in the Debtor’s main chapter 11 case, together with any responses or answers

  to the Motion or the Complaint; and having heard the arguments of counsel and considered the

  evidence presented at a hearing on January 27, 2020 (the “Hearing”), the Court finds and

  concludes as follows:

                                   Background, Jurisdiction and Venue

                   A.      For purposes of this Order, the term “DBMP Asbestos Claims” shall

  mean, collectively, any asbestos-related claims against DBMP, including all claims that formerly

  were asserted against (or that could have been asserted against) the former CertainTeed

  Corporation (“Old CT”) relating in any way to asbestos or asbestos-containing materials (but not

  including asbestos-related claims for which the exclusive remedy is provided under workers’

  compensation statutes and similar laws). For the avoidance of doubt, DBMP Asbestos Claims


  2
          Capitalized terms not otherwise defined herein have the meanings given to them in the Motion.



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  include, without limitation, all asbestos personal injury claims and other asbestos-related claims

  allocated to DBMP from Old CT in the documents implementing the 2019 Corporate

  Restructuring — e.g., all asbestos personal injury claims and other asbestos-related claims

  arising in whole or in any part from, or otherwise in any manner relating to, any conduct, action

  or failure to act of Old CT.

                   B.    The Plaintiff in this adversary proceeding is Debtor DBMP LLC.

  The Defendants in this adversary proceeding are those parties listed on Appendix A to the

  Complaint and the Motion, as well as John and Jane Does 1-1000. The Defendants listed on

  Appendix A are all plaintiffs in lawsuits as of the Petition Date that sought to hold, or may seek

  to hold, the Protected Parties liable for the DBMP Asbestos Claims. The Protected Parties are

  listed in Appendix B hereto. Defendants John and Jane Does 1-1000 are prospective plaintiffs

  who may at any time while the above-captioned chapter 11 case is pending seek to hold the

  Protected Parties liable for the DBMP Asbestos Claims.

                   C.    The Debtor seeks, pursuant to Rule 65(b) of the Federal Rules of Civil

  Procedure (the “Civil Rules”) and Rule 7065 of the Federal Rules of Bankruptcy Procedure

  (the “Bankruptcy Rules”), a temporary restraining order prohibiting the Defendants from

  continuing or commencing against any of the Protected Parties any action or claim asserting, on

  any theory of liability (whether direct, derivative, joint and several, successor liability, vicarious

  liability, fraudulent or voidable transfer or conveyance, alter ego, or otherwise), any DBMP

  Asbestos Claims.

                   D.    The Court has subject matter jurisdiction over this matter pursuant to

  28 U.S.C. §§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue

  for this matter is proper in this District pursuant to 28 U.S.C. § 1409.




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                            Request for Temporary Restraining Order

                   E.   A denial of the Debtor’s request for a temporary restraining order pending

  a final hearing on the Debtor’s request for injunctive and/or declaratory relief would cause

  the very harm that the Debtor seeks to prevent by the Motion and the Complaint. Without

  immediate injunctive relief, it is expected that: (1) many Defendants who already have asserted

  DBMP Asbestos Claims against the Protected Parties will attempt to continue prosecuting such

  claims against the Protected Parties outside of the Debtor’s chapter 11 case (the “Chapter 11

  Case”); (2) many Defendants who have sued only the Debtor, and not any of the Protected

  Parties, will seek to amend their complaints to name one or more of the Protected Parties and

  prosecute DBMP Asbestos Claims against those Protected Parties outside of the Chapter 11

  Case; (3) many Defendants who have pending motions to amend their complaints to add certain

  of the Protected Parties will continue to pursue those amendments in an effort to proceed with

  litigation against the Protected Parties outside of the Chapter 11 Case; and (4) Defendants John

  and Jane Does 1-1000 will file DBMP Asbestos Claims against the Protected Parties but not

  the Debtor. Accordingly, the Debtor has demonstrated that it will suffer “immediate and

  irreparable injury, loss, or damage” in the absence of immediate relief before any adverse party

  can be heard in opposition. Fed. R. Civ. P. 65(b).

                   F.   Over the last three months, the Debtor’s non-debtor affiliate,

  CertainTeed LLC (“New CT”) and/or other Protected Parties have been named in or added

  (or sought to be added) as defendants in approximately 74 DBMP Asbestos Claims. On a daily

  basis, depositions are occurring, court appearances are scheduled and answers are coming due in

  cases asserting DBMP Asbestos Claims. If DBMP Asbestos Claims against the Protected Parties

  are permitted to proceed pending a final hearing on the Debtor’s request for injunctive or




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  declaratory relief, the Debtor will be compelled to actively monitor, participate in and defend

  currently pending and additional threatened DBMP Asbestos Claims against the Protected

  Parties, notwithstanding the automatic stay, to guard against, among other things, potential

  indemnity claims, evidentiary prejudice and the risks of collateral estoppel and res judicata.

  In doing so, key personnel will be diverted from assisting the Debtor in achieving its

  reorganization goals.

                   G.     Regardless of its diligence, the Debtor cannot realistically provide

  effective notice to the many named plaintiffs that have commenced or may commence DBMP

  Asbestos Claims against the Protected Parties in the short period of time in which this Court’s

  action is needed. Moreover, notice itself is likely to precipitate the assertion of additional DBMP

  Asbestos Claims against the Protected Parties. This temporary restraining order is requested,

  and, the Court finds is required, to prevent that result.

                   H.     Further, service on John and Jane Does 1-1000 is impossible because these

  individuals are putative plaintiffs for future asbestos actions against the Protected Parties and are

  unknown at this time.

                   I.     Accordingly, this Court finds it appropriate to enter a temporary

  restraining order with limited notice to the Defendants pursuant to Civil Rule 65(b)(l) and

  Bankruptcy Rule 7065.

                   J.     To allow more parties in interest, including an appointed Asbestos

  Committee, to participate in the hearing on the requested relief and to conserve time and

  resources, this Court finds good cause for an extension and will enter a temporary restraining

  order as described herein and set a hearing on the Motion and the Complaint to determine if

  the temporary restraining order should be extended further, as permitted by Civil Rule 65, or if




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  other relief is appropriate, including the entry of a preliminary injunction for a limited period of

  time.

                   K.     The legal and factual bases set forth in the Motion, the Complaint,

  the Starczewski Declaration, the First Day Declaration and at the Hearing establish just cause for

  the relief granted herein.

                   Based on these findings and conclusions, IT IS HEREBY ORDERED THAT:

                   1.     The Motion is GRANTED with respect to its request for a temporary

  restraining order, as provided herein.

                   2.     The Defendants are prohibited and enjoined from commencing or

  continuing to prosecute any DBMP Asbestos Claims against any of the Protected Parties on any

  theory of liability, whether direct, derivative, joint and several, successor liability, vicarious

  liability, fraudulent or voidable transfer or conveyance, alter ego or otherwise, through and

  including the conclusion of the February 13 Hearing (as defined below), unless extended further

  by the Court. This temporary restraining order includes, without limitation: (a) the pursuit of

  discovery from the Protected Parties or their officers, directors, employees or agents;

  (b) the enforcement of any discovery order against the Protected Parties; (c) further motions

  practice related to the foregoing; and (d) any collection activity on account of a DBMP Asbestos

  Claim against any Protected Party or its officers, directors, employees or agents or its respective

  assets.

                   3.     Absent a further agreed upon extension, the Court shall conduct a further

  hearing on the Motion and the Complaint on February 13, 2020, at 9:30 a.m. (prevailing Eastern

  Time) (the “February 13 Hearing”), to determine if the temporary restraining order should be




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  extended further, as permitted by Civil Rule 65, or if other relief is appropriate, including the

  entry of a preliminary injunction for a limited period of time.

                   4.    This Order is entered without prejudice to the Debtor’s right to request

  that this Court extend this Order to include other entities or persons not previously identified in

  Appendix A or Appendix B to the Complaint and the Motion.

                   5.    Any party subject to this Order may seek relief from any of the provisions

  of this Order for cause shown. This Order is without prejudice to the Debtor’s or others’ rights

  to seek relief pursuant to section 362 of the Bankruptcy Code and for any Defendant or party in

  interest to oppose such relief.

                   6.    The findings in this Order are without prejudice to any party or

  Defendant’s right to dispute such findings in connection with any further hearing on the

  temporary restraining order or a hearing with respect to the entry of a preliminary injunction.

                   7.    Pursuant to Bankruptcy Rule 7065, the Debtor is relieved from posting

  any security under Civil Rule 65(c).

                   8.    This Order shall be immediately effective and enforceable upon its entry.

                   9.    The Debtor shall cause a copy of this Order to be served via e-mail,

  facsimile, hand delivery or overnight carrier on counsel for the known Defendants and

  the Bankruptcy Administrator within three business days of its entry on the Court’s docket.

                   10.   This Order shall be promptly filed in the Clerk of Court’s office and

  entered into the record. This Order shall remain effective for the period through and including

  the conclusion of the February 13 Hearing.




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                   11.   This Court retains exclusive jurisdiction over this Order and any and all

  matters arising from or relating to the implementation, interpretation or enforcement of this

  Order.

   This Order has been signed electronically.        United States Bankruptcy Court
   The judge’s signature and Court’s seal appear
   at the top of the Order.




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                                            Appendix A

                               List of Defendants and Their Counsel


  See Complaint for Injunctive and Declaratory Relief (I) Preliminarily Enjoining Certain Actions
   Against Non-Debtors or, (II) in the Alternative, Declaring That the Automatic Stay Applies to
  Such Actions and (III) Granting a Temporary Restraining Order Pending a Final Hearing on the
                          Merits, Appendix A [Adv. Proc. Docket No. 1]

                                                 -or-

    Motion of the Debtor for an Order (I) Preliminarily Enjoining Certain Actions Against Non
    Debtors or, (II) in the Alternative, Declaring that the Automatic Stay Applies to Such Actions
     and (III) Granting a Temporary Restraining Order Pending a Final Hearing on the Merits,
                                 Appendix A [Adv. Proc. Docket No. 2]




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                                    Appendix B




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                                  List of Protected Parties

  Non-Debtor Affiliates

  Bayside Port Corporation, Inc.
  Bird Incorporated
  Carborundum Ceramic Holdings, Inc.
  Carborundum Ventures, Inc.
  CertainTeed Canada, Inc.
  CertainTeed Ceilings Corporation
  The Former CertainTeed Corporation (a/k/a CertainTeed LLC)
  CertainTeed Gypsum and Ceiling Mfg., Inc.
  CertainTeed Gypsum Mfg., Inc.
  CertainTeed Gypsum NC, Inc.
  CertainTeed Gypsum West Virginia, Inc.
  CertainTeed Gypsum, Inc.
  CertainTeed Holding Corporation
  CertainTeed LLC
  CertainTeed Gypsum and Ceilings USA, Inc.
  Compagnie de Saint-Gobain
  CT Solar Fund I LLC
  CTKC Corporation
  Fluorocarbon Components, Inc.
  Grindwell Norton Ltd.
  GS II, Inc.
  HCS Corporation
  Level Solar Fund IV LLC
  MAG-ISOVER K.K.
  New West Gypsum Recycling, Inc.
  Norton Foreign Affiliates Holding Corporation
  OFI GP Inc.
  OFI L.P.
  Ottawa Fibre GP Inc
  Ottawa Fibre L.P.
  P.T. Saint-Gobain Abrasives Indonesia
  Phoenix Coating Resources, Inc.
  Redcliff Fibre L.P.
  Sage Electrochromics, Inc.
  Saint-Gobain (SEA) PTE, Ltd
  Saint-Gobain Abrasives, Inc.
  Saint-Gobain Abrasives, Ltd.
  Saint-Gobain Abrasivos S.A. de C.V.
  Saint-Gobain Adfors America, Inc.
  Saint-Gobain Advanced Ceramics, LLC
  Saint-Gobain Building Distribution Ltd.
  Saint-Gobain Canada, Inc.



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  Saint-Gobain Ceramic Materials Pvt. Ltd.
  Saint-Gobain Ceramics & Plastics, Inc.
  Saint-Gobain Corporation
  Saint-Gobain Corporation Foundation
  Saint-Gobain Delaware Corporation
  Saint-Gobain Finance Corporation
  Saint-Gobain Glass Corporation
  Saint-Gobain HyComp LLC
  Saint-Gobain India Foundation
  Saint-Gobain India Pvt. Ltd.
  Saint-Gobain Insurance Ltd.
  Saint-Gobain Interior Building Distribution Company
  Saint-Gobain KK
  Saint-Gobain Materiaux de Construction S.A.S.
  Saint-Gobain Merit, S.De R.L. De C.V.
  Saint-Gobain Performance Plastics (Hangzhou) Co., Ltd.
  Saint-Gobain Performance Plastics Corporation
  Saint-Gobain Receivables Corporation
  Saint-Gobain Research India Pvt. Ltd.
  Saint-Gobain Shared Services Corporation
  Saint-Gobain Solar Gard Australia Pty. Ltd.
  Saint-Gobain Solar Gard, LLC
  Saint-Gobain TM KK
  Sepco Corporation
  Societe de Participations Financieres et Industrielles
  The Grid Company GP, Inc.
  The Grid Company Limited Partnership
  The Grid Company, LLC
  Tillsonburg Fibre L.P.
  Vertec SAS
  Vetrotech Saint-Gobain North America, Inc.
  VIB L.P.
  Western Mining and Minerals, Inc.
  Zenpure Americas, Inc.
  Zenpure Corporation
  Z-Tech, LLC

  Distributors

  A&P Water & Sewer Supplies and Its Successors United States Distribution Group, Inc.; United
         States Filter Corporation; WaterPro Supplies Corporation
  Brent Material Company
  Florence Building Materials
  Goodman Lumber Company
  H.D. Fowler Co. Inc.
  Inland Water Works Supply Company



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  Kennedy Culvert & Supply Company, Inc.
  Northern Water Works Supply, Inc., n/k/a Ferguson Enterprises, Inc., d/b/a Northern Water
         Works Supply
  Western Waterworks Supply Co.




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